     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 1 of 28 Page ID #:1




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 7
                   IN THE UNITED STATES DISTRICT COURT
 8               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9    MARK BREYER, Individually and)
10    on Behalf of All Others Similarly
                                   )
      Situated,                    )
11                                 )
                     Plaintiff,    )         Case No. 2:19-cv-06808
12                                 )
           v.                      )         CLASS ACTION COMPLAINT
13                                 )         FOR VIOLATIONS OF
      PCM, INC., FRANK F. KHULUSI, )         SECTIONS 14(a) AND 20(a) OF
14    PAUL C. HEESCHEN, THOMAS A. )          THE SECURITIES EXCHANGE
      MALOOF, and RONALD B. RECK, )          ACT OF 1934
15                                 )
                     Defendants.   )         JURY TRIAL DEMANDED
16                                 )
                                   )
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28 CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a) AND 20(a) OF
                       THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 2 of 28 Page ID #:2




 1         Plaintiff Mark Breyer (“Plaintiff”), by his undersigned attorneys, alleges upon
 2 personal knowledge with respect to himself, and information and belief based upon,
 3 inter alia, the investigation of counsel as to all other allegations herein, as follows:
 4                             NATURE OF THE ACTION
 5         1.    This action is brought as a class action by Plaintiff on behalf of himself
 6 and the other public holders of the common stock of PCM, Inc. (“PCMI” or the
 7 “Company”) against the Company and the members of the Company’s board of
 8 directors (collectively, the “Board” or “Individual Defendants,” and, together with
 9 PCMI, the “Defendants”) for their violations of Sections 14(a) and 20(a) of the
10 Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a),
11 SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, and Regulation G, 17 C.F.R. § 244.100, in
12 connection with the proposed merger (the “Proposed Transaction”) between PCMI
13 and Insight Enterprises, Inc. (“Insight”).
14         2.    On June 23, 2019, the Board caused the Company to enter into an
15 agreement and plan of merger (“Merger Agreement”), pursuant to which the
16 Company’s shareholders stand to receive $35.00 in cash for each share of PCMI
17 stock they own (the “Merger Consideration”).
18         3.    On July 16, 2019, in order to convince PCMI shareholders to vote in
19 favor of the Proposed Transaction, the Board authorized the filing of a materially
20 incomplete and misleading Form PREM14A Preliminary Proxy Statement with the
21 Securities and Exchange Commission (“SEC”), in violation of Sections 14(a) and
22 20(a) of the Exchange Act. The materially incomplete and misleading Proxy
23 violates both Regulation G (17 C.F.R. § 244.100) and SEC Rule 14a-9 (17 C.F.R. §
24 240.14a-9), each of which constitutes a violation of Section 14(a) and 20(a) of the
25 Exchange Act. On July 26, 2019, the Company filed a Form DEFM14A Definitive
26 Proxy Statement (the “Proxy”) that did not correct the materially incomplete and
27
                                 -1-
28 CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a) AND 20(a) OF
                        THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 3 of 28 Page ID #:3




 1 misleading nature of the preliminary proxy.
 2         4.    While touting the fairness of the Merger Consideration to the
 3 Company’s shareholders in the Proxy, Defendants have failed to disclose certain
 4 material information that is necessary for shareholders to properly assess the fairness
 5 of the Proposed Transaction, thereby violating SEC rules and regulations and
 6 rendering certain statements in the Proxy materially incomplete and misleading.
 7         5.    In particular, the Proxy contains materially incomplete and misleading
 8 information concerning: (i) the financial projections for the Company that were
 9 prepared by the Company and relied on by Defendants in recommending that PCMI
10 shareholders vote in favor of the Proposed Transaction; and (ii) the summary of
11 certain valuation analyses conducted by PCMI’s financial advisor, B. Riley FBR,
12 Inc. (“B. Riley”) in support of its opinion that the Merger Consideration is fair to
13 shareholders, on which the Board relied.
14         6.    It is imperative that the material information that has been omitted from
15 the Proxy is disclosed prior to the forthcoming vote to allow the Company’s
16 shareholders to make an informed decision regarding the Proposed Transaction.
17         7.    For these reasons, and as set forth in detail herein, Plaintiff asserts
18 claims against Defendants for violations of Sections 14(a) and 20(a) of the Exchange
19 Act, based on Defendants’ violation of (i) Regulation G (17 C.F.R. § 244.100) and
20 (ii) Rule 14a-9 (17 C.F.R. § 240.14a-9). Plaintiff seeks to enjoin Defendants from
21 holding the shareholder vote on the Proposed Transaction and taking any steps to
22 consummate the Proposed Transaction unless, and until, the material information
23 discussed below is disclosed to PCMI shareholders sufficiently in advance of the
24 vote on the Proposed Transaction or, in the event the Proposed Transaction is
25 consummated, to recover damages resulting from the Defendants’ violations of the
26 Exchange Act.
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28                                -2-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 4 of 28 Page ID #:4




 1                            JURISDICTION AND VENUE
 2         8.    This Court has subject matter jurisdiction pursuant to Section 27 of the
 3 Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question
 4 jurisdiction) as Plaintiff alleges violations of Section 14(a) and 20(a) of the
 5 Exchange Act.
 6         9.    Personal jurisdiction exists over each Defendant either because the
 7 Defendant conducts business in or maintains operations in this District, or is an
 8 individual who is either present in this District for jurisdictional purposes or has
 9 sufficient minimum contacts with this District as to render the exercise of
10 jurisdiction over Defendant by this Court permissible under traditional notions of
11 fair play and substantial justice.
12         10.   Venue is proper in this District under Section 27 of the Exchange Act,
13 15 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391, because PCMI maintains its
14 principal executive offices in this District.
15                                        PARTIES
16         11.   Plaintiff is, and at all relevant times has been, a holder of PCMI
17 common stock.
18         12.   Defendant PCMI is incorporated in Delaware and maintains its
19 principal executive offices at 1940 East Mariposa Avenue, El Segundo, California
20 90245. The Company’s common stock trades on the NASDAQ under the ticker
21 symbol “PCMI.”
22         13.   Individual Defendant Frank F. Khulusi is PCMI’s Chief Executive
23 Officer and Chairman and has been a director of PCMI at all relevant times.
24         14.   Individual Defendant Paul C. Heeschen has been a director of PCMI at
25 all relevant times.
26         15.   Individual Defendant Thomas A. Maloof has been a director of PCMI
27
28                                -3-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 5 of 28 Page ID #:5




 1 at all relevant times.
 2         16.   Individual Defendant Ronald B. Reck has been a director of PCMI at
 3 all relevant times.
 4         17.   The Individual Defendants referred to in paragraphs 13-16 are
 5 collectively referred to herein as the “Individual Defendants” and/or the “Board.”
 6                             CLASS ACTION ALLEGATIONS
 7         18.   Plaintiff brings this class action pursuant to Fed. R. Civ. P. 23 on behalf
 8 of himself and the other public shareholders of PCMI (the “Class”). Excluded from
 9 the Class are Defendants herein and any person, firm, trust, corporation, or other
10 entity related to or affiliated with any Defendant.
11         19.   This action is properly maintainable as a class action because:
12               a.      The Class is so numerous that joinder of all members is
13         impracticable. As of July 26, 2019, there were approximately 12,000,000
14         shares of PCMI common stock outstanding, held by hundreds of individuals
15         and entities scattered throughout the country. The actual number of public
16         shareholders of PCMI will be ascertained through discovery;
17               b.      There are questions of law and fact that are common to the Class
18         that predominate over any questions affecting only individual members,
19         including the following:
20                       i)     whether Defendants disclosed material information that
21                              includes non-GAAP financial measures without providing
22                              a reconciliation of the same non-GAAP financial measures
23                              to their most directly comparable GAAP equivalent in
24                              violation of Section 14(a) of the Exchange Act;
25                       ii)    whether Defendants have misrepresented or omitted
26                              material information concerning the Proposed Transaction
27
28                                -4-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 6 of 28 Page ID #:6




 1                              in the Proxy in violation of Section 14(a) of the Exchange
 2                              Act;
 3                      iii)    whether the Individual Defendants have violated Section
 4                              20(a) of the Exchange Act; and
 5                      iv)     whether Plaintiff and other members of the Class will
 6                              suffer irreparable harm if compelled to vote their shares
 7                              regarding the Proposed Transaction based on the
 8                              materially incomplete and misleading Proxy.
 9               c.     Plaintiff is an adequate representative of the Class, has retained
10         competent counsel experienced in litigation of this nature, and will fairly and
11         adequately protect the interests of the Class;
12               d.     Plaintiff’s claims are typical of the claims of the other members
13         of the Class and Plaintiff does not have any interests adverse to the Class;
14               e.     The prosecution of separate actions by individual members of the
15         Class would create a risk of inconsistent or varying adjudications with respect
16         to individual members of the Class, which would establish incompatible
17         standards of conduct for the party opposing the Class;
18               f.     Defendants have acted on grounds generally applicable to the
19         Class with respect to the matters complained of herein, thereby making
20         appropriate the relief sought herein with respect to the Class as a whole; and
21               g.     A class action is superior to other available methods for fairly
22         and efficiently adjudicating the controversy.
23                             SUBSTANTIVE ALLEGATIONS
24 I.      The Proposed Transaction
25         20.   PCMI is a multi-vendor provider of technology solutions, including
26 hardware products, software and services, offered through a dedicated sales force,
27
28                                -5-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 7 of 28 Page ID #:7




 1 ecommerce channels and technology service teams.             The Company offers
 2 comprehensive solutions incorporating leading products and services across a
 3 variety of technology practices and platforms such as cloud, security, data center,
 4 networking, collaboration and mobility.
 5         21.   On June 24, 2019, PCMI and Insight issued a joint press release
 6 announcing the Proposed Transaction, which states in pertinent part:
 7
           TEMPE, Ariz. & EL SEGUNDO, Calif.--(BUSINESS WIRE)--Insight
 8         Enterprises (Nasdaq: NSIT), the global provider of Insight Intelligent
 9         Technology Solutions™ for organizations of all sizes, (“Insight”), and
           PCM, Inc. (Nasdaq: PCMI), a provider of IT products and services
10         (“PCM”), have entered into an agreement under which Insight will
11         acquire PCM for $35 per share, representing a 36% premium to its 1-
           month average closing share price as of Friday, June 21, 2019. The
12         transaction implies an enterprise value of approximately $581 million
13         (including cash and debt acquired).

14         PCM, based in El Segundo, California, is a provider of multi-vendor
15         technology offerings, including hardware, software and services to
           small, mid-sized and corporate/enterprise commercial clients, state,
16         local and federal governments and educational institutions across the
17         United States, Canada and the United Kingdom. PCM has offices in 40
           locations across these geographies and has more than 4,000 teammates,
18         including more than 2,700 client-facing teammates in sales, technical
19         and service delivery roles.

20         “Over the past five years, Insight has made significant progress,
21         transforming our business from a value-added reseller to a well-
           respected global solutions provider with deep expertise across
22         technology areas that provide our clients with significant value.
23         Together with PCM, we will be even better positioned to capitalize on
           our solution area investments through the addition of more technical
24         and sales resources and access to thousands of new clients, especially
25         in the mid-market and corporate client segments,” said Ken Lamneck,
           CEO of Insight.
26
27        The combination of the two organizations extends Insight’s reach into
28                                       -6-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 8 of 28 Page ID #:8




 1         areas where clients need help most: positioning their businesses for
           future growth, transforming and securing their data platforms, creating
 2         modern and mobile experiences for their workforce and optimizing the
 3         procurement of technology. Together, the combined organization will
           be able to offer partners an even stronger salesforce globally, with
 4         increased footprints in North America and the United Kingdom.
 5
           “The acquisition of PCM accelerates our opportunity to grow share
 6         within our four solution areas: Supply Chain Optimization, Connected
 7         Workforce, Cloud + Data Center Transformation and Digital
           Innovation. The addition of PCM complements our Supply Chain
 8         Optimization business, adding scale and clients in the mid-market and
 9         corporate space in North America. PCM’s services offerings add scale
           and capabilities to our Connected Workforce and Cloud + Data Center
10         Transformation solution areas and support our strategy to grow our
11         solutions business,” said Steve Dodenhoff, president of Insight’s North
           America business.
12
13         “This combination offers the ability to provide clients with greater
           value through the expansive solution offerings of the combined
14         company at a time when customers increasingly need a full-service
15         technology solutions provider to help them transform for the future.
           Together, we will be able to offer an impressive level of breadth, scale,
16         partnerships and services to meet our clients’ needs and exceed their
17         expectations. On behalf of our Board of Directors, we are very pleased
           to announce this combination which we believe maximizes our
18         shareholders’ value, and we look forward to the resulting opportunities
19         that lie ahead for our employees, customers and vendor partners,” said
           Frank Khulusi, chairman and CEO of PCM.
20
21         Insight expects to realize annual run-rate cost synergies of
           approximately $70 million by the end of 2021, with more than 50
22         percent of this to be realized in the first twelve to eighteen months,
23         primarily related to the consolidation of IT and delivery systems, and
           real estate and operational integration.
24
25        “Insight has a disciplined operating model for evaluating acquisitions
          and efficiently integrating these businesses post-closing, which has
26        allowed us to deliver well on the financial commitments of acquisitions
27        we have made in the past few years. As we move towards the closing
28                                           -7-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
           AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
     Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 9 of 28 Page ID #:9




 1         and integration of PCM, we expect to deploy these same best practices
           to deliver the expected synergies in our financial results,” stated Glynis
 2         Bryan, chief financial officer of Insight. “We believe this transaction
 3         will contribute materially to shareholder value as we execute our
           plans.”
 4
 5         Insight expects the acquisition to add more than $0.70 to Adjusted
           earnings per share in 2020, excluding:
 6
              •   approximately $25 million in transaction-related costs and
 7
                  restructuring expenses, most of which will be incurred in 2019,
 8                and
 9            •   intangibles amortization expense.

10         Terms and Financing
11
           The transaction is subject to certain customary closing conditions,
12         including regulatory approvals and approval of PCM’s shareholders,
13         and is expected to close in the second half of 2019.
           Insight will fund the acquisition through cash on hand and borrowings
14         under a new Asset Based Loan revolving credit facility.
15
           Advisors
16
17         J.P. Morgan Securities LLC is acting as financial advisor and Sullivan
           & Cromwell LLP is acting as legal advisor to Insight.
18
19         B. Riley FBR, Inc. is acting as financial advisor and Sheppard, Mullin,
           Richter & Hampton LLP is acting as legal advisor to PCM.
20
21         About Insight
22        Today, every business is a technology business. Insight Enterprises Inc.
23        empowers organizations of all sizes with Insight Intelligent Technology
          Solutions™ and services to maximize the business value of IT. As a
24        Fortune 500-ranked global provider of Digital Innovation, Cloud +
25        Data Center Transformation, Connected Workforce, and Supply Chain
          Optimization solutions and services, we help clients successfully
26        manage their IT today while transforming for tomorrow. From IT
27        strategy and design to implementation and management, our 7,400+
28                                         -8-
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
            AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 10 of 28 Page ID #:10




 1         employees help clients innovate and optimize their operations to run
           business smarter. Discover more at www.insight.com. NSIT
 2
 3         About PCM

 4         PCM, through its wholly-owned subsidiaries, is a leading multi-vendor
 5         provider of technology solutions, including hardware, software and
           services to small, medium and enterprise businesses, state, local and
 6         federal governments and educational institutions across the United
 7         States, Canada and the UK. PCM generated net sales of approximately
           $2.2 billion in the twelve months ended March 31, 2019.
 8
 9         22.    PCMI is well-positioned for financial growth and the Merger
10 Consideration fails to adequately compensate the Company’s shareholders. It is
11 imperative that Defendants disclose the material information they have omitted from
12 the Proxy, discussed in detail below, so that the Company’s shareholders can
13 properly assess the fairness of the Merger Consideration for themselves and make
14 an informed decision concerning whether or not to vote in favor of the Proposed
15 Transaction.
16         23.    If the false and/or misleading Proxy is not remedied and the Proposed
17 Transaction is consummated, Defendants will directly and proximately have caused
18 damages and actual economic loss (i.e., the difference between the value to be
19 received as a result of the Proposed Transaction and the true value of their shares
20 prior to the merger), in an amount to be determined at trial, to Plaintiff and the Class.
21 II.     The Materially Incomplete and Misleading Proxy
22         24.    On July 16, 2019, Defendants caused the preliminary proxy to be filed
23 with the SEC in connection with the Proposed Transaction. The proxy solicits the
24 Company’s shareholders to vote in favor of the Proposed Transaction. Defendants
25 were obligated to carefully review the proxy before it was filed with the SEC and
26 disseminated to the Company’s shareholders to ensure that it did not contain any
27
28                               -9-
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 11 of 28 Page ID #:11




 1 material misrepresentations or omissions. However, the proxy misrepresents and/or
 2 omits material information that is necessary for the Company’s shareholders to make
 3 an informed decision concerning whether to vote in favor of the Proposed
 4 Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act. On July
 5 26, 2019, Defendants caused the Proxy to be filed. The Proxy did not correct the
 6 materially incomplete and misleading nature of the preliminary proxy and thereby
 7 continues to violate Sections 14(a) and 20(a) of the Exchange Act.
 8         The Materiality of Financial Projections
 9         25.   A company’s financial forecasts are material information a board relies
10 on to determine whether to approve a merger transaction and recommend that
11 shareholders vote to approve the transaction. Here, the Proxy discloses “[i]n
12 connection with the merger, PCM[I] management prepared selected, non-public
13 financial projections, which we refer to as the management projections, for calendar
14 years 2019, 2020 and 2021 and provided such projections to the PCM[I] board of
15 directors, in connection with the consideration by the PCM[I] board of directors of
16 the merger, and to its financial advisor, B. Riley, in connection with its financial
17 analyses . . . .” Proxy 44.
18         26.   When soliciting proxies from shareholders, a company must furnish the
19 information found in Schedule 14A (codified as 17 C.F.R. § 240.14a-101). Item 14
20 of Schedule 14A sets forth the information a company must disclose when soliciting
21 proxies regarding mergers and acquisitions. In regard to financial information,
22 companies are required to disclose “financial information required by Article 11 of
23 Regulation S-X[,]” which includes Item 10 of Regulation S-K.               See Item
24 14(7)(b)(11) of 17 C.F.R. § 240.14a-101.
25         27.   Under Item 10 of Regulation S-K, companies are encouraged to
26 disclose “management’s projections of future economic performance that have a
27
28                               - 10 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 12 of 28 Page ID #:12




 1 reasonable basis and are presented in an appropriate format.” 17 C.F.R. § 229.10(b).
 2 Although the SEC recognizes the usefulness of disclosing projected financial
 3 metrics, the SEC cautions companies to “take care to assure that the choice of items
 4 projected is not susceptible of misleading inferences through selective projection of
 5 only favorable items.” 17 C.F.R. § 229.10(b)(2).
 6        28.    In order to facilitate investor understanding of the Company’s financial
 7 projections, the SEC provides companies with certain factors “to be considered in
 8 formulating and disclosing such projections[,]” including:
 9        (i) When management chooses to include its projections in a
          Commission filing, the disclosures accompanying the projections
10        should facilitate investor understanding of the basis for and limitations
          of projections. In this regard investors should be cautioned against
11        attributing undue certainty to management’s assessment, and the
          Commission believes that investors would be aided by a statement
12        indicating management’s intention regarding the furnishing of updated
          projections. The Commission also believes that investor understanding
13        would be enhanced by disclosure of the assumptions which in
          management’s opinion are most significant to the projections or are the
14        key factors upon which the financial results of the enterprise depend
          and encourages disclosure of assumptions in a manner that will provide
15        a framework for analysis of the projection.
16        (ii) Management also should consider whether disclosure of the
          accuracy or inaccuracy of previous projections would provide investors
17        with important insights into the limitations of projections. In this
          regard, consideration should be given to presenting the projections in
18        a format that will facilitate subsequent analysis of the reasons for
          differences between actual and forecast results. An important benefit
19        may arise from the systematic analysis of variances between projected
          and actual results on a continuing basis, since such disclosure may
20        highlight for investors the most significant risk and profit-sensitive
          areas in a business operation.
21
22 17 C.F.R. § 229.10(b)(3) (emphasis added).
23        29.    Here, PCMI’s shareholders would clearly find complete and non-
24 misleading financial projections material in deciding how to vote, considering that
25 in making its recommendation that shareholders vote in favor of the Proposed
26 Transaction, the Board specifically relied on the financial forecasts to determine
27
28                              - 11 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 13 of 28 Page ID #:13




 1 “that the value offered under the merger agreement is more favorable to PCM
 2 stockholders than the potential value that might have resulted from remaining an
 3 independent public company . . . .” Proxy 32.
 4         30.    As discussed further below, the non-GAAP financial projections here
 5 do not provide PCMI’s shareholders with a materially complete understanding of
 6 the assumptions and key factors considered in developing financial projections,
 7 which assumptions, factors and other inputs the Board reviewed.
 8         The Financial Projections Relied on by the Board
 9         31.    The Proxy discloses that “[i]n connection with the merger, PCM[I]
10 management prepared selected, non-public financial projections, which we refer to
11 as the management projections, for calendar years 2019, 2020 and 2021 and
12 provided such projections to the PCM[I] board of directors, in connection with the
13 consideration by the PCM[I] board of directors of the merger, and to its financial
14 advisor, B. Riley, in connection with its financial analyses . . . .” Id. at 44.
15         32.    The Proxy further discloses that the assumptions used in the financial
16 projections were “prepared in good faith and on a reasonable basis based on the best
17 information available to the preparers at the time of their preparation.” Id.
18         33.    The Proxy discloses the financial projections in two portions. One
19 portion was prepared by the Company’s management. Id. at 45. The second portion
20 was calculated by B. Riley using management’s income statement and balance sheet
21 projections for calendar years 2019 through 2021, and using B. Riley’s professional
22 judgment, as approved by the Company’s management, for calendar years 2022
23 through 2023. Id.
24         34.    The Proxy goes on to disclose, inter alia, forecasted values for
25 projected non-GAAP (Generally Accepted Accounting Principles) financial metrics
26 for 2019 through 2024 for: (1) Adjusted EBITDA; (2) Adjusted EBIT; and (3)
27
28                               - 12 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 14 of 28 Page ID #:14




 1 unlevered free cash flow, but fails to provide (i) the line items used to calculate these
 2 non-GAAP metrics nor (ii) a reconciliation of these non-GAAP projections to the
 3 most comparable GAAP measures. Id. at 45-46.
 4         35.   The Proxy defines Adjusted EBITDA as “earnings before interest,
 5 taxes, depreciation and amortization [excluding] the effect of severance and
 6 restructuring related expenses related to PCM[I]'s cost reduction initiatives and
 7 stock-based compensation, as well as uncommon, non-recurring or special items.”
 8 Id. at 46. Nevertheless, the Proxy fails to reconcile Adjusted EBITDA to its most
 9 comparable GAAP measure nor disclose the line items used to calculate Adjusted
10 EBITDA, rendering the Proxy materially false and/or misleading. Id.
11         36.   The Proxy defines Adjusted EBIT as “earnings before interest and taxes
12 [excluding] the effect of severance and restructuring related expenses related to
13 PCM[I]'s cost reduction initiatives and stock-based compensation, as well as
14 uncommon, non-recurring or special items.” Id. Nevertheless, the Proxy fails to
15 reconcile Adjusted EBIT to its most comparable GAAP measure nor disclose the
16 line items used to calculate Adjusted EBIT, rendering the Proxy materially false
17 and/or misleading. Id.
18         37.   The Proxy defines unlevered free cash flow (“UFCF”) as “Adjusted
19 EBITDA (i) less stock-based compensation, (ii) less taxes (applying a 28.0% cash
20 tax rate as provided by PCM[I]), (iii) less capital expenditures and (iv) less the cash
21 impact of net working capital based on information provided by PCM[I].” Id.
22 Nevertheless, the Proxy fails to reconcile UFCF to its most comparable GAAP
23 measure nor disclose the line items used to calculate UFCF, rendering the Proxy
24 materially false and/or misleading. Id.
25         38.   Thus, the Proxy’s disclosure of these non-GAAP financial forecasts
26 provides an incomplete and materially misleading understanding of the Company’s
27
28                               - 13 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 15 of 28 Page ID #:15




 1 future financial prospects and the inputs and assumptions for which those prospects
 2 are based upon. It is clear that those inputs and assumptions were in fact forecasted
 3 and utilized in calculating the non-GAAP measures disclosed and relied on by the
 4 Board to recommend the Proposed Transaction in violation of Section 14(a) of the
 5 Exchange Act.
 6         39.   The financial projections disclosed on pages 45-46 of the Proxy violate
 7 Section 14(a) of the Exchange Act because: (i) the use of such forecasted non-GAAP
 8 financial measures alone violates SEC Regulation G, as a result of Defendants’
 9 failure to reconcile those non-GAAP measures to their closest GAAP equivalent or
10 otherwise disclose the specific financial assumptions and inputs used to calculate the
11 non-GAAP measures; and (ii) they violate SEC Regulation 14a-9 because they are
12 materially misleading, as shareholders are unable to discern the veracity of the
13 financial projections.
14         40.   As such, this information must be disclosed in order to cure the
15 materially misleading disclosures regarding both the financial projections developed
16 by the Company as well as the projections relied upon by the Company’s financial
17 advisors.
18         The Financial Projections Violate Regulation G
19         41.   The SEC has acknowledged that potential “misleading inferences” are
20 exacerbated when the disclosed information contains non-GAAP financial
21
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28                              - 14 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 16 of 28 Page ID #:16




 1 measures1 and adopted Regulation G2 “to ensure that investors and others are not
 2 misled by the use of non-GAAP financial measures.”3
 3         42.   Defendants must comply with Regulation G. More specifically, the
 4 company must disclose the most directly comparable GAAP financial measure and
 5 a reconciliation (by schedule or other clearly understandable method) of the
 6 differences between the non-GAAP financial measure disclosed or released with the
 7 most comparable financial measure or measures calculated and presented in
 8 accordance with GAAP. 17 C.F.R. § 244.100. This is because the SEC believes
 9 “this reconciliation will help investors . . . to better evaluate the non-GAAP financial
10 measures
11 . . . . [and] more accurately evaluate companies’ securities and, in turn, result in a
12 more accurate pricing of securities.”4
13         43.   Moreover, the SEC has publicly stated that the use of non-GAAP
14 financial measures can be misleading.5 Former SEC Chairwoman Mary Jo White
15
16   1
          Non-GAAP financial measures are numerical measures of future financial
   performance that exclude amounts or are adjusted to effectively exclude amounts
17 that are included in the most directly comparable GAAP measure. 17 C.F.R. §
   244.101(a)(1).
18
   2
          Item 10 of Regulations S-K and S-B were amended to reflect the requirements
19 of Regulation G.
20   3
         SEC, Final Rule: Conditions for Use of Non-GAAP Financial Measures (Jan.
   22, 2003), available at https://www.sec.gov/rules/final/33-8176.htm (“SEC, Final
21 Rule”).
22   4
           SEC, Final Rule.
23   5
          See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures:
   The SEC’s Evolving Views, Harvard Law School Forum on Corporate Governance
24 and      Financial      Regulation    (June     24,   2016),    available     at
   https://corpgov.law.harvard.edu/2016/06/24/non-gaap-financial-measures-the-secs-
25 evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping Companies Spin
   Losses Into Profits, N.Y. Times, Apr. 22, 2016, available at
26 http://www.nytimes.com/2016/04/24/business/fantasy-math-is-helping-companies-
   spin-losses-into-profits.html?_r=0.
27
28 CLASS ACTION COMPLAINT FOR             - 15 -
                                              VIOLATIONS OF SECTIONS 14(a)
            AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 17 of 28 Page ID #:17




 1 has stated that the frequent use by publicly traded companies of unique company-
 2 specific non-GAAP financial measures (as PCMI included in the Proxy here)
 3 implicates the centerpiece of the SEC’s disclosures regime:
 4          In too many cases, the non-GAAP information, which is meant to
            supplement the GAAP information, has become the key message to
 5          investors, crowding out and effectively supplanting the GAAP
            presentation. Jim Schnurr, our Chief Accountant, Mark Kronforst, our
 6          Chief Accountant in the Division of Corporation Finance and I, along
            with other members of the staff, have spoken out frequently about our
 7          concerns to raise the awareness of boards, management and investors.
            And last month, the staff issued guidance addressing a number of
 8          troublesome practices which can make non-GAAP disclosures
            misleading: the lack of equal or greater prominence for GAAP
 9          measures; exclusion of normal, recurring cash operating expenses;
            individually tailored non-GAAP revenues; lack of consistency; cherry-
10          picking; and the use of cash per share data. I strongly urge companies
            to carefully consider this guidance and revisit their approach to non-
11          GAAP disclosures. I also urge again, as I did last December, that
            appropriate controls be considered and that audit committees carefully6
12          oversee their company’s use of non-GAAP measures and disclosures.
13          44.   The SEC has required compliance with Regulation G, including
14 reconciliation requirements, in other merger transactions. Compare Youku Tudou
15 Inc., et al., Correspondence 5 (Jan. 11, 2016) (Issuer arguing that Rule 100(d) of
16 Regulation G does not apply to non-GAAP financials relating to a business
17 combination),7 with Youku Tudou Inc., et al., SEC Staff Comment Letter 1 (Jan. 20,
18 2016) (“[The SEC] note[s] that your disclosure of projected financial information is
19 not in response to the requirements of, or pursuant to, Item 1015 of Regulation M-A
20
21
22
23   6
         Mary Jo White, Keynote Address, International Corporate Governance
   Network Annual Conference: Focusing the Lens of Disclosure to Set the Path
24 Forward on Board Diversity, Non-GAAP, and Sustainability (June 27, 2016),
   available   at     https://www.sec.gov/news/speech/chair-white-icgn-speech.html
25 (emphasis added) (footnotes omitted).
26   7
          Available at https://www.sec.gov/Archives/edgar/data/1442596/000110
     465916089133/filename1.htm.
27
28                                  - 16 -
         CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
             AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 18 of 28 Page ID #:18




 1 and is thus not excepted from Rule 100 of Regulation G.”);8 see Harbin Electric,
 2 Inc., Correspondence 29 (Aug. 12, 2011) (“Pursuant to the requirements of
 3 Regulation G, we have added a reconciliation of actual and projected EBIT to GAAP
 4 net income . . . .”).9
 5         45.    Compliance with Regulation G is mandatory under Section 14(a), and
 6 non-compliance constitutes a violation of Section 14(a). Thus, in order to bring the
 7 Proxy into compliance with Regulation G, Defendants must provide a reconciliation
 8 of the non-GAAP financial measures to their respective most comparable GAAP
 9 financial measures.
         The Financial Projections are Materially Misleading and Violate SEC Rule
10       14a-9
11         46.    In addition to the Proxy’s violation of Regulation G, the lack of
12 reconciliation or, at the very least, the line items utilized in calculating the non-
13
14   8
          Available                                                                   at
   https://www.sec.gov/Archives/edgar/data/1442596/000000000016062042/
15 filename1.pdf.
16   9
            Available                                                                  at
     https://www.sec.gov/Archives/edgar/data/1266719/000114420411046281/
17   filename1.htm. See also Actel Corp., SEC Staff Comment Letter 2 (Oct. 13, 2010)
     (“Opinion of Actel’s Financial Advisor, page 24 . . . This section includes non-
18   GAAP financial measures. Please revise to provide the disclosure required by Rule
     100 of Regulation G.”), available at https://www.sec.gov/Archives/edgar/
19   data/907687/000000000010060087/filename1.pdf. See also The Spectranetics
     Corp., SEC Staff Comment Letter 1 (July 18, 2017) (“Item 4. The Solicitation or
20   Recommendation Certain Spectranetics Forecasts, page 39 . . . [P]rovide the
     reconciliation required under Rule 100(a) of Regulation G”), available at
21   https://www.sec.gov/Archives/edgar/data/789132/000000000017025180/filename1
     .pdf. The SEC Office of Mergers and Acquisitions applied Regulation G in these
22   transactions, which reflects the SEC’s official position. Any claim that the SEC has
     officially sanctioned the use of non-GAAP financial forecasts for business
23   combinations when the Board itself created and relied on such non-GAAP forecasts
     to recommend a transaction such as the Proposed Transaction is incorrect. The
24   SEC’s website provides certain unofficial guidance for certain matters, called
     Compliance and Disclosure Interpretations (“C&DI’s”) which through the use of
25   Q&As reflect the views of particular SEC staff and on which certain issuers have in
     the past claimed an exemption from Regulation G. The SEC itself expressly
26   disclaims C&DI’s as they are not regulations that have been reviewed by the SEC,
     and the SEC expressly states that they are not binding and should not be relied on.
27   See www.sec.gov/divisions/corpfin/cfguidance.shtml.
28                                           - 17 -
       CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
              AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 19 of 28 Page ID #:19




 1 GAAP measures render the financial forecasts disclosed materially misleading, as
 2 shareholders are unable to understand the differences between the non-GAAP
 3 financial measures and their respective most comparable GAAP financial measures.
 4 Nor can shareholders compare the Company’s financial prospects with similarly
 5 situated companies.
 6         47.    Such projections are necessary to make the non-GAAP projections
 7 included in the Proxy not misleading for the reasons discussed above. Indeed,
 8 Defendants acknowledge “Adjusted EBITDA, Adjusted EBIT and unlevered free
 9 cash flows are financial measures that are not determined in accordance with
10 accounting principles generally accepted in the United States of America, or GAAP,
11 and therefore should not be considered as a substitute for, financial information
12 presented in compliance with GAAP . . . . Other companies in our industry may
13 calculate Adjusted EBIT, Adjusted EBITDA and unlevered free cash flow
14 differently than we do, which may limit their usefulness as comparative measures.”
15 Proxy 46.
16         48.    As such, financial projections are plainly material, and shareholders
17 would clearly want a complete and non-misleading understanding of those
18 projections.
19         49.    In order to cure the materially misleading nature of the projections
20 under SEC Rule 14a-9 as a result of the omitted information on pages 45-46,
21 Defendants must provide a reconciliation table of the non-GAAP financial measures
22 to the most comparable GAAP measures.
23         The Materially Misleading Financial Analyses
24         50.    The summary of the valuation methodologies utilized by B. Riley
25 including the utilization of certain of the non-GAAP financial projections described
26 above by B. Riley, in connection with its valuation analyses, (id. at 37) is misleading
27
28                               - 18 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 20 of 28 Page ID #:20




 1 in violation of Regulation 14a-9. The opacity concerning the Company’s internal
 2 projections renders the valuation analyses described below materially incomplete
 3 and misleading, particularly as companies formulate non-GAAP metrics differently.
 4 Once a proxy discloses internal projections relied upon by the Board, those
 5 projections must be complete and accurate.
 6         51.   With respect to B. Riley’s Discounted Cash Flow Analysis, the Proxy
 7 states that B. Riley calculated the Company’s estimated unlevered free cash flows
 8 using the forecasts provided by the Company’s management for calendar years 2019
 9 through 2021 and on B. Riley’s own estimates for calendar years 2022 through 2023.
10 Id. at 41. B. Riley used exit multiples ranging from 6.5x to 7.5x to calculate the
11 estimated terminal values. Id. B. Riley discounted the UFCF and the terminal values
12 using a discount rate of 13.0% to 14.0% based on the Company’s weighted average
13 cost of capital. Id.
14         52.   The Proxy does not provide the information B. Riley utilized in the
15 Discounted Cash Flow Analysis. The Proxy does not disclose the values B. Riley
16 calculated for the range of terminal values, any of the inputs that went into
17 calculating the Company’s weighted average cost of capital, the inputs and
18 assumptions that went into selecting the exit multiple range, what, if any, enterprise
19 value adjustments were made, nor the number of fully diluted shares outstanding.
20         53.   Since information was omitted, shareholders are unable to discern the
21 veracity of B. Riley’s Discounted Cash Flow Analysis. Without further disclosure,
22 shareholders are unable to compare B. Riley’s calculations with the Company’s
23 financial projections. The absence of any single piece of the above information
24 renders B. Riley’s Discounted Cash Flow Analysis incomplete and misleading.
25 Thus, the Company’s shareholders are being materially misled regarding the value
26 of the Company.
27
28                              - 19 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 21 of 28 Page ID #:21




 1        54.    As a highly-respected professor explained in one of the most thorough
 2 law review articles regarding the fundamental flaws with the valuation analyses
 3 bankers perform in support of fairness opinions, in a discounted cash flow analysis
 4 a banker takes management’s projections and then makes several key choices “each
 5 of which can significantly affect the final valuation.” Steven M. Davidoff, Fairness
 6 Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006).             Such choices include “the
 7 appropriate discount rate, and the terminal value . . . .” Id. As Professor Davidoff
 8 explains:
 9        There is substantial leeway to determine each of these, and any change
10        can markedly affect the discounted cash flow value . . . . The substantial
          discretion and lack of guidelines and standards also makes the process
11        vulnerable to manipulation to arrive at the “right” answer for fairness.
12        This raises a further dilemma in light of the conflicted nature of the
          investment banks who often provide these opinions[.]
13
14 Id. at 1577-78 (footnotes omitted).
15        55.    Therefore, in order for PCMI shareholders to become fully informed
16 regarding the fairness of the Merger Consideration, the material omitted information
17 must be disclosed to shareholders.
18        56.    In sum, the Proxy independently violates both (i) Regulation G, which
19 requires a presentation and reconciliation of any non-GAAP financial to their most
20 directly comparable GAAP equivalent, and (ii) Rule 14a-9, since the material
21 omitted information renders certain statements, discussed above, materially
22 incomplete and misleading. As the Proxy independently contravenes the SEC rules
23 and regulations, Defendants violated Section 14(a) and Section 20(a) of the
24 Exchange Act by filing the Proxy to garner votes in support of the Proposed
25 Transaction from PCMI shareholders.
26
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28                              - 20 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 22 of 28 Page ID #:22




 1         57.    Absent disclosure of the foregoing material information prior to the
 2 special shareholder meeting to vote on the Proposed Transaction, Plaintiff and the
 3 other members of the Class will not be able to make a fully-informed decision
 4 regarding whether to vote in favor of the Proposed Transaction, and they are thus
 5 threatened with irreparable harm, warranting the injunctive relief sought herein.
 6         58.    Further, failure to remedy the deficient Proxy and consummate the
 7 Proposed Transaction will directly and proximately cause damages and actual
 8 economic loss to shareholders (i.e., the difference between the value to be received
 9 as a result of the Proposed Transaction and the true value of their shares prior to the
10 merger), in an amount to be determined at trial, to Plaintiff and the Class.
11                                    COUNT I
      (Against All Defendants for Violations of Section 14(a) of the Exchange Act
12                and 17 C.F.R. § 244.100 Promulgated Thereunder)
13         59.    Plaintiff incorporates each and every allegation set forth above as if
14 fully set forth herein.
15         60.    Section 14(a)(1) of the Exchange Act makes it “unlawful for any
16 person, by the use of the mails or by any means or instrumentality of interstate
17 commerce or of any facility of a national securities exchange or otherwise, in
18 contravention of such rules and regulations as the Commission may prescribe as
19 necessary or appropriate in the public interest or for the protection of investors, to
20 solicit or to permit the use of his name to solicit any proxy or consent or authorization
21 in respect of any security (other than an exempted security) registered pursuant to
22 section 78l of this title.” 15 U.S.C. § 78n(a)(1).
23         61.    As set forth above, the Proxy omits information required by SEC
24 Regulation G, 17 C.F.R. § 244.100, which independently violates Section 14(a).
25 SEC Regulation G, among other things, requires an issuer that chooses to disclose a
26 non-GAAP measure to provide a presentation of the “most directly comparable”
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28                               - 21 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 23 of 28 Page ID #:23




 1 GAAP measure and a reconciliation “by schedule or other clearly understandable
 2 method” of the non-GAAP measure to the “most directly comparable” GAAP
 3 measure. 17 C.F.R. § 244.100(a).
 4         62.   The failure to reconcile the non-GAAP financial measures included in
 5 the Proxy violates Regulation G and constitutes a violation of Section 14(a).
 6         63.   As a direct and proximate result of the dissemination of the false and/or
 7 misleading Proxy Defendants used to recommend that shareholders approve the
 8 Proposed Transaction, Plaintiff and the Class will suffer damages and actual
 9 economic losses (i.e., the difference between the value they will receive as a result
10 of the Proposed Transaction and the true value of their shares prior to the merger) in
11 an amount to be determined at trial and are entitled to such equitable relief as the
12 Court deems appropriate, including rescissory damages.
13                                    COUNT II
      (Against All Defendants for Violations of Section 14(a) of the Exchange Act
14                    and Rule 14a-9 Promulgated Thereunder)
15         64.   Plaintiff incorporates each and every allegation set forth above as if
16 fully set forth herein.
17         65.   SEC Rule 14a-9 prohibits the solicitation of shareholder votes in
18 registration statements that contain “any statement which, at the time and in the light
19 of the circumstances under which it is made, is false or misleading with respect to
20 any material fact, or which omits to state any material fact necessary in order to make
21 the statements therein not false or misleading[.]” 17 C.F.R. § 240.14a-9(a).
22         66.   Regulation G similarly prohibits the solicitation of shareholder votes
23 by “mak[ing] public a non-GAAP financial measure that, taken together with the
24 information accompanying that measure . . . contains an untrue statement of a
25 material fact or omits to state a material fact necessary in order to make the
26 presentation of the non-GAAP financial measure . . . not misleading.” 17 C.F.R. §
27
28                               - 22 -
      CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
          AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 24 of 28 Page ID #:24




 1 244.100(b) (emphasis added).
 2         67.   Defendants have issued the Proxy with the intention of soliciting
 3 shareholder support for the Proposed Transaction. Each of the Defendants reviewed
 4 and authorized the dissemination of the Proxy, which fails to provide critical
 5 information regarding, amongst other things, the financial projections for the
 6 Company.
 7         68.   In so doing, Defendants made untrue statements of fact and/or omitted
 8 material facts necessary to make the statements made not misleading. Each of the
 9 Individual Defendants, by virtue of their roles as directors and/or officers, were
10 aware of the omitted information but failed to disclose such information, in violation
11 of Section 14(a). The Individual Defendants were therefore negligent, as they had
12 reasonable grounds to believe material facts existed that were misstated or omitted
13 from the Proxy but nonetheless failed to obtain and disclose such information to
14 shareholders although they could have done so without extraordinary effort.
15         69.   The Individual Defendants knew or were negligent in not knowing that
16 the Proxy is materially misleading and omits material facts that are necessary to
17 render it not misleading. The Individual Defendants undoubtedly reviewed and
18 relied upon the omitted information identified above in connection with their
19 decision to approve and recommend the Proposed Transaction.
20         70.   The Individual Defendants knew or were negligent in not knowing that
21 the material information identified above has been omitted from the Proxy, rendering
22 the sections of the Proxy identified above to be materially incomplete and
23 misleading.
24         71.   The Individual Defendants were, at the very least, negligent in
25 preparing and reviewing the Proxy. The preparation of a registration statement by
26 corporate insiders containing materially false or misleading statements or omitting a
27
28                              - 23 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 25 of 28 Page ID #:25




 1 material fact constitutes negligence. The Individual Defendants were negligent in
 2 choosing to omit material information from the Proxy or failing to notice the material
 3 omissions in the Proxy upon reviewing it, which they were required to do carefully
 4 as the Company’s directors. Indeed, the Individual Defendants were intricately
 5 involved in the process leading up to the signing of the Merger Agreement and the
 6 preparation of the Company’s financial projections.
 7         72.   PCMI is also deemed negligent as a result of the Individual Defendants’
 8 negligence in preparing and reviewing the Proxy.
 9         73.   The misrepresentations and omissions in the Proxy are material to
10 Plaintiff and the Class, who will be deprived of their right to cast an informed vote
11 if such misrepresentations and omissions are not corrected prior to the vote on the
12 Proposed Transaction.
13         74.   As a direct and proximate result of the dissemination of the false and/or
14 misleading Proxy Defendants used to recommend that shareholders approve the
15 Proposed Transaction, Plaintiff and the Class will suffer damages and actual
16 economic losses (i.e., the difference between the value they will receive as a result
17 of the Proposed Transaction and the true value of their shares prior to the merger) in
18 an amount to be determined at trial and are entitled to such equitable relief as the
19 Court deems appropriate, including rescissory damages.
20                                     COUNT III
21                  (Against the Individual Defendants for Violations
                          of Section 20(a) of the Exchange Act)
22
23         75.   Plaintiff incorporates each and every allegation set forth above as if
24 fully set forth herein.
25         76.   The Individual Defendants acted as controlling persons of PCMI within
26 the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of
27
28                              - 24 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 26 of 28 Page ID #:26




 1 their positions as directors and/or officers of PCMI, and participation in and/or
 2 awareness of the Company’s operations and/or intimate knowledge of the
 3 incomplete and misleading statements contained in the Proxy filed with the SEC,
 4 they had the power to influence and control and did influence and control, directly
 5 or indirectly, the decision making of the Company, including the content and
 6 dissemination of the various statements that Plaintiff contends are materially
 7 incomplete and misleading.
 8        77.      Each of the Individual Defendants was provided with or had unlimited
 9 access to copies of the Proxy and other statements alleged by Plaintiff to be
10 misleading prior to and/or shortly after these statements were issued and had the
11 ability to prevent the issuance of the statements or cause the statements to be
12 corrected.
13        78.      In particular, each of the Individual Defendants had direct and
14 supervisory involvement in the day-to-day operations of the Company and,
15 therefore, is presumed to have had the power to control or influence the particular
16 transactions giving rise to the Exchange Act violations alleged herein and exercised
17 the same. The Proxy at issue contains the unanimous recommendation of each of
18 the Individual Defendants to approve the Proposed Transaction. They were thus
19 directly involved in preparing the Proxy.
20        79.      In addition, as the Proxy sets forth at length, and as described herein,
21 the Individual Defendants were involved in negotiating, reviewing, and approving
22 the Merger Agreement. The Proxy purports to describe the various issues and
23 information that the Individual Defendants reviewed and considered. The Individual
24 Defendants participated in drafting and/or gave their input on the content of those
25 descriptions.
26        80.      By virtue of the foregoing, the Individual Defendants have violated
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28                              - 25 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
  Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 27 of 28 Page ID #:27




 1 Section 20(a) of the Exchange Act.
 2        81.    As set forth above, the Individual Defendants had the ability to exercise
 3 control over and did control a person or persons who have each violated Section
 4 14(a) and Rule 14a-9 by their acts and omissions as alleged herein. By virtue of
 5 their positions as controlling persons, these Defendants are liable pursuant to Section
 6 20(a) of the Exchange Act.         As a direct and proximate result of Individual
 7 Defendants’ conduct, Plaintiff and the Class will be irreparably harmed.
 8                               PRAYER FOR RELIEF
 9        WHEREFORE, Plaintiff prays for judgment and relief as follows:
10        A.     Declaring that this action is properly maintainable as a Class Action
11 and certifying Plaintiff as Class Representative and his counsel as Class Counsel;
12        B.     Enjoining Defendants and all persons acting in concert with them from
13 proceeding with the shareholder vote on the Proposed Transaction or consummating
14 the Proposed Transaction, unless and until the Company discloses the material
15 information discussed above which has been omitted from the Proxy;
16        C.     Directing Defendants to account to Plaintiff and the Class for all
17 damages sustained as a result of their wrongdoing and to award damages arising
18 from proceeding with the Proposed Transaction;
19        D.     Awarding Plaintiff the costs and disbursements of this action, including
20 reasonable attorneys’ and expert fees and expenses; and
21        E.     Granting such other and further relief as this Court may deem just and
22 proper.
23                                       JURY DEMAND
24        Plaintiff demands a trial by jury on all issues so triable.
25 Dated: August 6, 2019
                                                Respectfully submitted,
26
                                                FARUQI & FARUQI, LLP
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28                              - 26 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
 Case 2:19-cv-06808-SVW-JEM Document 1 Filed 08/06/19 Page 28 of 28 Page ID #:28




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28                              - 27 -
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF SECTIONS 14(a)
         AND 20(a) OF THE SECURITIES EXCHANGE ACT OF 1934
